     Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 1 of 44 PageID 1




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                            Tampa Division

MICHAEL T. FLYNN, an individual, )
                                 )
    Plaintiff,                   )               Case No.: __________________
                                 )
v.                               )               COMPLAINT
                                 )
EVERETT STERN, an individual,    )               DEMAND FOR A JURY
                                 )               TRIAL
    Defendant.                   )
                                 )

      1.    Defendant Everett Stern is a politician who habitually and

continually lies about his own checkered past and the record of an American

hero, Lieutenant General Michael T. Flynn (ret.) (“Gen. Flynn”).

      2.    Stern contrived a public persona as the “whistleblower” who

worked with the CIA to bring down a “terrorist and drug cartel financing

operation” at HSBC. This resulted in a $1.92 billion fine of the bank and Stern

considering and calling himself a “hero.” Stern has traded on this lie for years.

He is now at it again, this time propping himself up at the expense of an actual

American hero, Gen. Flynn.

      3.    In a malicious attempt to smear Gen. Flynn—a man he proclaims

to hate—and raise his own public profile, Stern has spread pernicious lies

about Gen. Flynn, accusing him of committing treason, extortion, and domestic

terrorism. Like before, Stern pretends to be a spy and a whistleblower, and like
      Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 2 of 44 PageID 2




before, his lies are self-serving and self-promoting. Gen. Flynn now seeks to

hold Stern accountable for his malicious and knowing lies.

                                       Parties

      4.    Lt. Gen. Michael T. Flynn (ret.) is an individual who is a resident

and citizen of the State of Florida.

      5.    Everett Stern (“Defendant”) is an individual who is a resident and

citizen of the Commonwealth of Pennsylvania.

                           Jurisdiction and Venue

      6.    This Court has subject matter jurisdiction over this cause of action

pursuant to 28 U.S.C. § 1332 as there is complete diversity of citizenship and

the amount in controversy exceeds $75,000.

      7.    Defendant is subject to personal jurisdiction in Florida, pursuant

to Florida’s long-arm statute, Fla. Stat. § 48.193, because a third party in

Florida accessed the defamatory material and it was directed at a Florida

resident.

      8.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because

a substantial part of the events giving rise to this claim occurred in this judicial

district. Specifically, the defamation, which is the basis of this lawsuit, was

published in the Middle District of Florida in addition to all over the world.

Over 10 million people—more than 55 percent of the State’s population—reside

within the Middle District, thus making the alleged defamatory statements in


                                          2
     Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 3 of 44 PageID 3




this venue highly significant. Gen. Flynn is a resident of Sarasota County and

is domiciled in the Middle District of Florida. Defendant’s Tweets and YouTube

statements were directed at Gen. Flynn and his family in Florida and at Middle

District of Florida residents who did in fact view and hear Defendant’s

defamatory statements.

                            Factual Background

Background of General Flynn

      9.    Gen. Flynn has dedicated his life to serving and protecting the

United States. He served more than thirty-three (33) years in the United

States Army, rising to the rank of Lieutenant General, and served as Assistant

Director of National Intelligence in the Office of the Director of National

Intelligence and as the 18th Director of the Defense Intelligence Agency.

      10.   Gen. Flynn has become a staunch advocate for the preservation of

American values and election integrity. Gen. Flynn recently began and

unveiled a bi-partisan election integrity initiative called “The America

Project,” which is designed to train election monitors as well as educate the

public on election reform issues.




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      Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 4 of 44 PageID 4




Defendant’s History of Pretending to Be a Spy

      11.    Defendant has made a lucrative career out of pretending to be a

spy and the “whistleblower” whose insider “intelligence” caused HSBC to be

fined $1.92 billion.

      12.    Defendant—whose application to the CIA in college was rejected

and who has no professional experience in intelligence, law enforcement, or

military—created his own so-called “Private Intelligence Agency,” where he

titled himself “Intelligence Director.” On his prominently-featured profile

page, Defendant claims that “he discovered his then employer, HSBC Bank,

was aiding terrorist groups and drug dealers,” and that “he turned to the CIA

and eventually brought down the illegal operation, resulting in an almost

$2 billion fine.”1

      13.    Defendant—whose sole finance experience is one year, straight out

of school, at HSBC—has also started his own hedge fund, where he calls

himself “Hedge Fund Manager.” Once again, he trades on this identical story

about “bringing down the illegal operation, resulting in an almost $2 billion

fine.”2




1 Everett Stern, Intelligence Director and CEO, TACTICAL RABBIT,
https://tacticalrabbit.com/intelligence-director/ (last visited Apr. 14, 2022).
2 Everett Stern, RABBIT CAPITAL MANAGEMENT,

https://www.rabbitcapitalmanagement.com/everett-stern/ (last visited Apr. 14, 2022).


                                            4
      Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 5 of 44 PageID 5




       14.    Defendant has parlayed this story into politics, running

unsuccessfully for U.S. Senate in 2016 and running once again as a candidate

for 2022. On his U.S. Senate candidacy website, Defendant again makes the

identical claim about providing intel against HSBC, which led to “an almost $2

billion fine”.3

       15.    On his LinkedIn profile, Defendant describes himself as an “HSBC

Bank Whistleblower / Federal Witness” and claims that “[a]fter passing

intelligence to the CIA and then the FBI [Defendant] brought down the

terrorist and drug cartel financing operation, resulting in the largest fine

against a bank in U.S. History 1.92 Billion.”4

       16.    The problem with Defendant’s story is that it is a fantasy.

Defendant’s claim to have been responsible—even partly responsible—for the

$1.92 billion in fines imposed on HSBC by the U.S. government in 2012 is a lie,

told by Defendant ad nauseum to bolster his paltry resume. This is proven not

only by the timeline of events but by Defendant’s own “Government

Submission” to the Federal Reserve, dated March 11, 2013, and attached

hereto as Exhibit 1. Despite Defendant’s attempt to conceal this document,5


3 Everett Stern for U.S. Senate 2022 – About, https://everettstern.com/about/ (last visited
Apr. 14, 2022).
4 Everett Stern, U.S. Senate Candidate / CEO & Intelligence Director, LINKEDIN,

https://www.linkedin.com/in/everettstern/ (last visited Dec. 13, 2021).
5 See Talk: Everett Stern/Archive 1, WIKIPEDIA,

https://en.wikipedia.org/wiki/Talk%3AEverett_Stern%2FArchive_1?redirect=no (last visited
Dec. 15, 2021), (showing that Defendant personally advocated for removal the Government


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      Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 6 of 44 PageID 6




his Government Submission directly contradicts his claim to have had

anything to do with the fine of HSBC.

      17.       Defendant worked for HSBC for one year, straight out of school,

from October 2010 to October 2011. The criminal information filed against

HSBC involved conduct from January 2001 to December 2010.6 Defendant was

not responsible for or even involved in the investigation of HSBC that led to

the $1.92 billion. That investigation entirely pre-dated Defendant’s

employment with HSBC, as he admits in his Government Submission. See

Ex. 1, p. 14.

      18.       Defendant’s Government Submission details the far more

mundane reality: that Defendant was a disgruntled, low-level employee with

delusions of grandeur. He disapproved of HSBC’s policies and controls, he

resented his position in the company and those in positions above him, and he

repeatedly overstepped his role to the point of being demoted twice and

threatened with termination.

      19.       Within a month on the job, Defendant was already pretending to

be a spy. Defendant contacted HSBC clients, posing as an “importer/exporter,”




Submission from his Wikipedia page, stating, “I am personally absolutly [sic] against this
Government Submission going into the Wikipedia page or even being referenced”).
6 See Information and Statement of Facts, USA v. HSBC Bank USA, N.A., 1:12-cr-763, Dkt.

Nos. 3-1 and 3-3, (E.D.N.Y., filed Dec. 11, 2012).


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      Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 7 of 44 PageID 7




and attempted to get them to incriminate themselves. He would then report

his findings to the “CIA on line [sic] Tip Portal at www.CIA.gov.” Ex. 1, pp. 7-9.

       20.    Defendant specifies in his Government Submission that the $1.92

billion in fines against HSBC involved “conduct that occurred in 2010 or prior,

and not during the time period [Defendant] worked at HSBC.” Ex. 1, p. 14

(emphasis added). As confirmed by the U.S. Senate Permanent Subcommittee

on Investigations report on HSBC, Defendant had zero role in the investigation

and subsequent fine of HSBC.7

       21.    Defendant has fabricated his entire public persona as the

whistleblower who took down HSBC, including the idea that he has worked

with the CIA. He now calls himself the “Intelligence Director” of his company,

which he advertises as a “Private Intelligence Agency” that conducts

“intelligence operations,” utilizes “CIA intelligence methodologies and

tradecraft,” and refers to his company as “the real Private CIA.”8 He also

started a hedge fund, which bets against companies that will be targets of




7 See Permanent Subcommittee on Investigations, U.S. Vulnerabilities to Money
Laundering, Drugs, and Terrorist Financing: HSBC Case History, COMMITTEE ON
HOMELAND SECURITY AND GOVERNMENTAL AFFAIRS, U.S. SENATE (July 17, 2012),
https://www.hsgac.senate.gov/imo/media/doc/PSI%20REPORT-
HSBC%20CASE%20HISTORY%20(9.6).pdf (making no mention of Defendant’s name, and
referring only to a whistleblower from 2005, when Defendant was still in college).
8 Private Intelligence Agency, TACTICAL RABBIT, https://tacticalrabbit.com/ (last visited Apr.

14, 2022); infra, ¶ 74.


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      Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 8 of 44 PageID 8




federal investigation or regulation, claiming to use “CIA Intelligence

methodologies” and the support of his “private intelligence agency.”9



Defendant accuses Gen. Flynn of committing treason in a “press conference”

      22.    Defendant has now set his sights on Gen. Flynn, once again

playacting as a spy and “whistleblower,” and again fabricating outlandish lies

to prop himself up and increase his public profile. This time, however, instead

of pretending to be instrumental in the takedown of HSBC, Defendant is now

accusing a retired three-star general—who has spent his entire life in service

to the United States—of committing treason.

      23.    On October 30, 2021, Defendant held a “press conference” at which

he claimed to have evidence that Gen. Flynn was involved in a domestic

terrorism plot and asserted that General Flynn was “committing treason

against the United States.” Exhibit 2 at 2:40.10

      24.    In his written YouTube post that accompanied the video,

Defendant proclaimed himself to be “considered a hero by many” and once

again repeated the lie that he was “the HSBC whistleblower who, in 2012,

uncovered evidence that his employer HSBC was laundering money for several


9 Rabbit Capital Management, RABBIT CAPITAL MANAGEMENT,
https://www.rabbitcapitalmanagement.com/ (last visited Apr. 14, 2022).
10 Everett Stern, New Evidence of Ongoing Domestic Terror Threat Links to General

Michael T. Flynn, YOUTUBE (Oct. 30, 2021),
https://www.youtube.com/watch?v=0hJxwENx468.


                                           8
     Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 9 of 44 PageID 9




major international terrorist and drug cartel financing operations around the

world” and that his “whistleblowing actions resulted in a $1.92 billion fine.”

Exhibit 3.

      25.    In the same posting, Defendant stated that he had “uncovered a

trove of evidence that links ongoing domestic terror threats against members

of Congress—which are being directed by a group headed by former National

Security Advisor Michael Flynn” and that this group is “working to undermine

U.S. national security.” Ex. 3.

      26.    The “trove of evidence” that Defendant discloses in the YouTube

video and subsequent media interviews is that a group called Patriot Caucus

offered to hire Defendant’s “private intelligence agency” to supposedly gather

intelligence on Republican elected officials and that Patriot Caucus hoped to

influence public policy.

      27.    Defendant claimed in the video that Gen. Flynn is “running Patriot

Caucus” without any basis.

      28.    Defendant claims in the video that Gen. Flynn’s “operatives”

wanted to “extort” public officials, also without any basis.

      29.    Defendant’s YouTube video was viewed by over 27,000 people,

including by third parties located in the state of Florida.




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     Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 10 of 44 PageID 10




      30.    Defendant’s YouTube video was immediately picked up by

national media outlets, Salon11 and Newsweek,12 which repeated Defendant’s

lies that Gen. Flynn was engaged in a plot to extort public officials. Defendant

told both news outlets that he was instructed to “accomplish the mission even

if you have to use domestic terrorism.”

Defendant repeats accusations against Gen. Flynn on Twitter

      31.    Just like with his HSBC lies, Defendant repeats his lies about Gen.

Flynn ad nauseum. Defendant has stated on Twitter, among other things, that:

             a. Gen. Flynn is part of a “domestic terror network”;

             b. Gen. Flynn has “committ[ed] treason”;

             c. Gen. Flynn’s “[t]reason continues to this day”;

             d. Gen. Flynn is a “traitor General”;

             e. Defendant’s life has been threatened by “the Flynn Org”;

             f. Gen. Flynn has written emails “intimidating” Defendant as a

                 “Federal Witness & U.S. Senate Candidate”;

             g. an “Operative” of Gen. Flynn planned to commit “domestic

                 terrorism”;


11Brett Bachman, GOP candidate: Michael Flynn trying to run extortion plot on U.S.
officials to reinstall Trump, SALON (Oct. 31, 2021),
https://web.archive.org/web/20211101001029/https://www.salon.com/2021/10/31/candidate-
michael-flynn-trying-to-run-extortion-scheme-on-us-officials-to-reinstall/.
12 Natalie Colarossi, GOP Senate candidate says Michael Flynn group asked him to ‘gather

intelligence’ on lawmakers, Newsweek (Oct. 31, 2021), https://www.newsweek.com/gop-
senate-candidate-says-michael-flynn-group-asked-him-gather-intel-lawmakers-1644308.


                                           10
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 11 of 44 PageID 11




            h. Defendant is a “Federal Witness” of “criminal” acts by Gen.

               Flynn;

            i. Gen. Flynn has committed “[f]oreign interference in an

               election”;

            j. Defendant witnessed “crimes” committed by “General Flynn’s

               ‘soldiers’ ‘Operatives’”;

            k. Defendant witnessed Flynn undermining the “United States

               Democracy” through “Domestic Terror” and “Extortion”;

            l. Defendant “witnessed & exposed the largest US coup attempt

               [by Gen. Flynn] under the guise of ‘audits’”; and

            m. Gen. Flynn was “extorting politicians to get Trump in office.”

      32.   The following is a non-comprehensive history of Defendant’s

defamatory Tweets about Gen. Flynn, in chronological order.

      33.   On November 6, 2021, Defendant Tweeted that Gen. Flynn is part

of a “domestic terror network”:




                                           11
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 12 of 44 PageID 12




      34.   Later that day, Defendant Tweeted that Gen. Flynn was

“committing treason”:




      35.   On November 11, 2021, Defendant Tweeted that Gen. Flynn is a

“traitor General” and implies that Gen. Flynn had threatened Defendant’s life:




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 13 of 44 PageID 13




      36.     Later that day, Defendant doesn’t just imply that he was

threatened by Gen. Flynn; he asserts it as a fact:




      37.     In response to a commenter, Defendant Tweeted that he believes

the FBI cannot secure his safety because it is compromised, presumably by

Gen. Flynn:




                                      13
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 14 of 44 PageID 14




     38.   Also on November 11, 2021, Defendant Tweeted that Gen. Flynn

was “intimidating a Federal Witness”:




     39.   On November 12, 2021, Defendant Tweeted that the words

“domestic terrorism” were used by a “Flynn Patriot Caucus Operative”:




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 15 of 44 PageID 15




      40.   On November 18, 2021, Defendant Tweeted that his “facts against

Flynn and Patriot Caucus are very serious” and then thanks his Twitter

followers for “connecting critical dots”:




      41.   Also on November 18, 2021, Defendant Tweeted that he was to

testify before the U.S. House Select Committee on the January 6th Attack and

claims that it would be an “honor to help get criminal charges” against Gen.

Flynn:




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 16 of 44 PageID 16




      42.   On November 20, 2021, Defendant Tweeted about a supposed

“Flynn intel op” utilizing “foreign operatives” and then speculates about

“Iranians” being related to the “Patriot Caucus / Flynn Op”:




      43.   Ten minutes later, Defendant Tweeted that “Flynn and the Trump

Org must be brought up on charges” for “Foreign interference in an election”:




                                      16
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 17 of 44 PageID 17




      44.   On November 26, 2021, Defendant Tweeted about having

witnessed unspecified crimes by “General Flynn’s ‘soldiers’ ‘Operatives’”:




      45.   Later, on November 26, 2021, Defendant Tweeted that his “goal

was to try and fix the Republican party,” which had moved to the right “due to

Flynn’s operations that I was involved with”:




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 18 of 44 PageID 18




      46.   Defendant Tweeted again on November 26, 2021, accusing Gen.

Flynn of committing or attempting to commit “domestic terror,” “extortion,”

and “election crimes”:




      47.   On December 3, 2021, Defendant Tweeted again that he

“witnessed” “Extortion” and “Domestic Terror” committed by Flynn:




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 19 of 44 PageID 19




      48.   Ten minutes later, Defendant Tweeted that he “witnessed &

exposed the largest US coup attempt” and that he “saw Flynn’s people’s

resolve”:




      49.   Also on December 3, 2021, apparently reacting to news about Dr.

Mehmet Oz entering the primary race for the U.S. Senate seat coveted by

Defendant, Defendant again accused Gen. Flynn of “extorting politicians”:




      50.   On December 4, 2021, in response to another Twitter user who

apparently questioned Defendant’s accusations against Gen. Flynn and




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 20 of 44 PageID 20




pointed out “inconsistencies,” Defendant Tweeted that his “actions are

calculated and for a reason. Very calculated.”:




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 21 of 44 PageID 21




      51.   Later, on December 4, 2021, Defendant Tweeted that he witnessed

“extortion attempts and the words ‘Domestic Terror’ used by operatives of

General Flynn’s Patriot Caucus”:




      52.   On December 10, 2021, Defendant Tweeted that “General Flynn is

using extortion”:




                                    21
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 22 of 44 PageID 22




     53.   On December 31, 2021, Defendant Tweeted that “an active group

called Patriot Caucus run by General Flynn engaging in sedition as we speak.”:




     54.   On January 4, 2022, Defendant Tweeted that “[Ivan] Raiklin &

Flynn run a domestic terror group”:




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     Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 23 of 44 PageID 23




      55.    On January 9, 2022, Defendant Tweeted that Flynn is a traitor

and will be “in jail”:




      56.    On January 10, 2022, Defendant Tweeted statements implying

that he was involved in an official investigation or “intelligence operation”

against “Flynn’s domestic terror group”:




                                     23
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 24 of 44 PageID 24




      57.   On January 25, 2022, Defendant accused Gen. Flynn of “[c]riminal

manipulation of the PA GOP”:




      58.   On February 4, 2022, Defendant Tweeted “New Evidence of

Ongoing Domestic terror Threat Links to General Michael Flynn…” and

included a link to his October 30, 2021 press conference:




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 25 of 44 PageID 25




      59.   On February 5, 2022, Defendant Tweeted that he witnessed “Flynn

Extortion / Election Fraud”:




      60.   On March 6, 2022, Defendant Tweeted a photo in which he poses

with a woman alleged to be Velma Anne Ruth, and identifies her as the

previously unnamed “operative” he referred to in his October 30, 2021 press

conference who supposedly said the words “domestic terrorism”—the same one




                                    25
       Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 26 of 44 PageID 26




who he took pains to note was “actually dressed in, in paramilitary gear, uh,

in a, in a paramilitary uniform”13:




13   Ex. 2, at 12:15 (emphasis added).

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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 27 of 44 PageID 27




     61.   On March 12, 2022, Defendant Tweeted once again about having

witnessed “Extortion” and “Domestic terror”:




     62.   On March 20, 2022, in response to a Tweet from David Corn, who

was justifying his prior reporting that the Hunter Biden laptop was Russian




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 28 of 44 PageID 28




disinformation, Defendant Tweeted that “The Flynn Extortion plot” is

somehow tied to the “Russian-back narrative” discussed by Corn:




                                    28
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 29 of 44 PageID 29




      63.   On March 24, 2022, Defendant Tweeted that financial support of

Gen. Flynn is the equivalent of “Terrorist Financing”:




      64.   On May 17, 2022, Defendant Tweeted a request for finances for his

“war” with Gen. Flynn and accuses him of running a “domestic terror group”:




      65.   Defendant’s Twitter following is over 26,000 people, including

persons located in the state of Florida. In addition, Defendant’s defamatory

Tweets were viewed by third parties located in the state of Florida.




                                      29
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 30 of 44 PageID 30




Defendant’s Tweets show malicious hatred of Gen. Flynn

      66.   Defendant does not attempt to conceal his malice toward Gen.

Flynn, openly stating his hatred of Gen. Flynn and his desire to see Gen. Flynn

and even his family members prosecuted for imagined and invented crimes.

      67.   Defendant not only has a history of pretending to be a CIA

operative and government whistleblower, he also has a history of draping his

lies in the cloak of patriotism and using those lies to prop himself up at the

expense of a straw man—an evil, anti-American villain.

      68.   In the case of HSBC, he has for years taken credit for an

investigation that pre-dated him and led people to believe that he was affiliated

with or was working with the CIA to take down terrorist financing at HSBC.

He did this to bolster his paltry resume. He used this unearned credibility and

the narrative of patriotic David fighting the anti-American Goliath in creating

his “private intelligence agency”—giving himself the title “Intelligence

Director”—and a hedge fund that supposedly uses “CIA Intelligence

techniques.”

      69.   In this case, as shown by Defendant’s own Tweets, Defendant is

using his malicious smear campaign against Gen. Flynn—claiming to be “at

war” with him—as a means of increasing his public profile, driving business to

his “private intelligence agency,” ingratiating himself to anti-Flynn politicians,

generating funding for his political campaign, and explicitly trying to destroy


                                       30
     Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 31 of 44 PageID 31




Gen. Flynn’s reputation. As before, they show a man with delusions of

grandeur, and he displays animus and resentment toward Gen. Flynn for his

political beliefs.

       70.    Also, like before, Defendant plays the victim, repeatedly claiming

to be under attack by Gen. Flynn as a means of generating sympathy and

fabricating a narrative that he is a martyr—or, as he has repeatedly described

himself in his supposed battle with HSBC, as David fighting Goliath.

       71.    In addition to the Tweets included above, which already show

Defendant’s malice for Gen. Flynn,14 the following are additional Tweets that

indicate Defendant’s malice, as well as his political and financial motives.

       72.    On December 31, 2021, Defendant Tweeted about Gen. Flynn

being a traitor and suggests that Gen. Flynn being “allowed” to support a

candidate is improper – “My opponents are worth 50 – 100 million and have




14See e.g., supra, ¶ 41 (claiming it is an “honor to help get criminal charges” against Gen.
Flynn); ¶ 45 (showing his goal in attacking Gen. Flynn is to influence the Republican
Party); ¶ 46 (showing Defendant’s view that he is playing an “important role in history”); ¶
64 (claiming to be David against Goliath, at “war” with Gen. Flynn).


                                             31
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 32 of 44 PageID 32




the backing of traitors. The traitors Trump and Flynn are surprisingly allowed

to openly back and ‘influence’ candidates.”:




      73.   On February 5, 2022, Defendant Tweeted that “Trump and Flynn

have much more money than I have. I am asking for help because wars cost

money” (emphasis added):




      74.   On February 13, 2022, Defendant demonstrated his personal

animus toward Gen. Flynn and even his family by offering the services of his

“Private CIA” to CNN to help them win a defamation lawsuit filed against it



                                      32
     Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 33 of 44 PageID 33




by “a Flynn”—specifically, Gen. Flynn’s sister, Valerie Flynn—stating, “Don’t

settle with traitors.”:




       75.    The next day, Defendant further demonstrated his personal

animus toward Gen. Flynn’s entire family, Tweeting again about the

defamation lawsuit filed by Valerie Flynn against CNN—for selectively

altering a video of her in a news broadcast15—and stated that Defendant would




15Complaint, Flynn v. Cable News Network, Inc., No. 8:22-cv-343 (M.D. Fla., filed Feb. 9,
2022).


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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 34 of 44 PageID 34




help CNN win the lawsuit by providing “leverage” and “further develop

intelligence against Flynn Family”:




     76.   On March 5, 2022, Defendant once again states that he is at “war”

with Gen. Flynn:




     77.   On March 6, 2022, in response to a Tweet about Defendant

charging money for an event, Defendant Tweeted, “I have to. I am mounting a




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 35 of 44 PageID 35




major legal and intelligence effort against Flynn and Trump. Wars cost

money.”:




     78.   On March 20, 2022, Defendant claimed to have had “conversations

with Flynn in 2020 after Jan 6th to launch an intel operation”—which he later




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    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 36 of 44 PageID 36




corrects to say that the conversations occurred in 2021—showing that

Defendant had been plotting against Gen. Flynn since early 2021:




                                    36
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 37 of 44 PageID 37




      79.   On March 27, 2022, Defendant bizarrely relates Will Smith’s

acceptance speech at the Oscars to Defendant’s “battle with General Flynn.”:




      80.   On March 30, 2022, Defendant Tweeted his explicit hatred for Gen.

Flynn and his malicious desire to strip him of his military title and retirement:




                                       37
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 38 of 44 PageID 38




      81.   On May 18, 2022, in a video posted to Twitter, Defendant further

expressed his malice for Gen. Flynn, stating that he is “going after” his

businesses and his brother, Joe Flynn.

                                 COUNT I
                    (Defamation and Defamation Per Se)

      82.   Gen. Flynn re-alleges and incorporates paragraphs 1 through 81.

      83.   Starting on October 30, 2021, and continuing to the present,

Defendant has engaged in a non-stop smear campaign against Gen. Flynn,

repeatedly asserting what he knows to be false, including the following

allegations that:

            a. Gen. Flynn has committed treason and sedition against the

               United States—a crime punishable by death;

            b. Gen. Flynn has committed or attempted to commit the crime of

               extortion against elected officials;

            c. Gen. Flynn is part of a “domestic terror network” and that he

               has committed or attempted to commit acts of domestic

               terrorism;

            d. Gen. Flynn has committed or attempted to commit the crime of

               “[f]oreign interference in an election”; and

            e. Gen. Flynn has committed the crime of intimidation of a federal

               witness.



                                       38
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 39 of 44 PageID 39




      84.      These assertions by Defendant about Gen. Flynn, on YouTube and

on Twitter, are false, and Defendant knew them to be false, or he was reckless

in his disregard for the truth.

      85.      Gen. Flynn has never committed treason or sedition against the

United States. Indeed, Gen. Flynn has served his country with honor and

distinction.

      86.      Gen. Flynn has never committed or attempted to commit extortion

or blackmail of anyone, much less an elected official.

      87.      Gen. Flynn is not part of any kind of terror group, and he has

certainly not committed or attempted to commit any kind of act of terror.

      88.      Gen. Flynn has not committed or attempted to commit any kind of

foreign interference in an election. Quite the opposite: Gen. Flynn has actively

promoted election integrity and transparency in the United States.

      89.      Gen. Flynn has not committed or attempted to commit any kind of

intimidation of a Federal Witness.

      90.      Gen. Flynn is not affiliated with Ivan Raiklin other than as an

acquaintance.

      91.      Gen. Flynn is not affiliated with Velma Anne Ruth other than as

an acquaintance.




                                       39
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 40 of 44 PageID 40




      92.   Gen. Flynn is not aware of, is not familiar with, and is not involved

in any kind of leadership or official capacity in the group Plaintiff refers to as

“Patriot Caucus.”

      93.   Gen. Flynn generally supports groups that promote conservative,

America-First principles and election integrity. The number of groups fitting

that description and using a name that includes the word “Patriot” is too

numerous for Gen. Flynn to recall, and it is quite possible that Gen. Flynn has

met people affiliated with this particular group, but Gen. Flynn has no way to

know one way or the other. Gen. Flynn can say with certainty that he has never

coordinated with any group to attempt extortion, blackmail, or domestic

terrorism, as repeatedly alleged by Defendant on Twitter and on YouTube.

      94.   Moreover, Defendant’s allegations against Mr. Raiklin, Ms. Ruth,

and other members of this Patriot Caucus—that they are domestic terrorists,

that they are part of a criminal organization, and that they have engaged in or

attempted to commit sedition, extortion, election interference, or any other

crime—appear to be entirely without merit, based on Defendant’s own

supposed “trove of evidence,” his track record of self-serving and delusional

lies, and the fact that law enforcement apparently did not take Defendant’s

hyperbolic story seriously.




                                       40
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 41 of 44 PageID 41




      95.   Defendant’s direct Twitter following is over 26,000 people,

including residents of Florida, to whom Defendant published his defamatory

Tweets.

      96.   According to YouTube, Defendant’s video and accompanying

written post have been viewed over 27,000 times, including by residents of

Florida.

      97.   These defamatory statements were directed at Gen. Flynn, a

Florida resident.

      98.   Defendant published the defamatory statements on Twitter and

YouTube, knowing that they were false or with reckless disregard for the truth.

      99.   The defamatory statements constitute defamation per se because

they tended to injure Gen. Flynn in his trade, business, or profession, and

directly accused Gen. Flynn of committing serious crimes, including treason—

punishable by death.

      100. The defamatory statements have directly and proximately caused

Gen. Flynn to suffer significant damages in Florida, where he lives and does

business, including damage to his reputation, humiliation, embarrassment,

and mental anguish, all of which are ongoing in nature and will be suffered in

the future. These damages were foreseeable to Defendant.

      101. Defendant published the defamatory statements knowingly,

intentionally, willfully, wantonly, and maliciously, with intent to harm Gen.


                                      41
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 42 of 44 PageID 42




Flynn, or in blatant disregard for the substantial likelihood of causing him

harm, particularly in his home state of Florida, thereby entitling Gen. Flynn

to an award of punitive damages.

      102. As a direct and proximate result of the misconduct of Defendant,

Gen. Flynn is entitled to compensatory, special, and punitive damages in an

amount to be proven at trial.

                                    COUNT II
                              (Injurious Falsehood)

      103. Gen. Flynn re-alleges and incorporates paragraphs 1 through 103.

      104. Gen. Flynn is currently engaged in the business of promoting

election integrity and reform.

      105. Defendant’s false statements, accusing Gen. Flynn of being a

traitor, of participating in domestic terrorism and sedition, and of attempting

the crimes of extortion and election interference, directly concern Gen. Flynn’s

business.

      106. Defendant intended for his false statements to destroy Gen.

Flynn’s reputation, to ruin his ability to participate in politics, elections, and

policy advocacy, and to harm him financially. Defendant reasonably recognized

and intended that the publication of his statements about Gen. Flynn would

result in pecuniary losses.




                                       42
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 43 of 44 PageID 43




      107. Defendant has explicitly stated his intent to damage Gen. Flynn’s

pecuniary interests and to target his businesses.

      108. Gen. Flynn has suffered direct pecuniary losses as a result of

Defendant’s accusations, including costs associated with lost business

opportunities and money spent to defend his own reputation, in an amount to

be proven at trial.

                              Prayer for Relief

      WHEREFORE, Plaintiff, Michael T. Flynn, demands judgment against

Defendant, Everett Stern, as follows:

      a.    An award of compensatory, special, and punitive damages of two

            hundred and fifty million dollars ($250,000,000);

      b.    Injunctive relief prohibiting the publication or republication of the

            defamatory statements;

      c.    An award of Plaintiff’s costs associated with this action, including

            but not limited to his reasonable attorneys’ fees and expenses; and

      d.    Such other and further relief as the Court deems just and

            appropriate to protect Plaintiff’s rights and interests.

                           Demand for Jury Trial

      Plaintiff demands a trial by jury on all issues so triable.




                                        43
    Case 8:22-cv-01250 Document 1 Filed 05/31/22 Page 44 of 44 PageID 44




Dated: May 31, 2022                Respectfully, submitted

                                   /s/ Jared J. Roberts
                                   Jared J. Roberts (Fl. Bar No. 1036550)
                                   Jason C. Greaves (pro hac vice
                                   application forthcoming)
                                   BINNALL LAW GROUP, PLLC
                                   717 King Street, Suite 200
                                   Alexandria, Virginia 22314
                                   Phone: (703) 888-1943
                                   Fax: (703) 888-1930
                                   Email: jared@binnall.com
                                           jason@binnall.com

                                   Counsel for Plaintiff




                                    44
